Case 3:04-cr-30139-SMY                 Document 525 Filed 04/20/06                     Page 1 of 3        Page ID
                                                 #995



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                                      )
                                                               )
                     Plaintiff,                                )
                                                               )
         v.                                                    )         CRIMINAL NO. 04-30139-WDS
                                                               )
JOSIAH COMPTON,                                                )
                                                               )
                   Defendant.                                  )


                                       MEMORANDUM & ORDER

STIEHL, District Judge:

         This matter is before the Court on defense counsel’s motion for leave to withdraw as

counsel (Doc. 521). The defendant has also filed, pro se, a motion to move for dismissal (Doc.

517), and a motion to compel response to motion to dismiss appointed counsel (Doc. 518).1

             In his motion for leave to withdraw, defense counsel Gary A. Mack indicates that a

conflict has developed between him and the defendant, Josiah Compton, and that he can no

longer represent the defendant due to this conflict. The Court has held a hearing on the motion

and FINDS that the conflict which has developed between the defendant and Attorney Mack is

of such a nature that a change in counsel is warranted. Accordingly, the Court GRANTS

defense counsel's motion for leave to withdraw and hereby APPOINTS Rodney H. Holmes,

1010 Market Street, Suite 1540, St. Louis, Missouri 63101, as counsel for the defendant.



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          When the defendant is represented by counsel, it is not proper, and the Court does not usually permit the
defendant to make pro se filings. Although the Court will permit these motions to be filed, the defendant will not be
allowed to file further pro se motions in this matter. All motions filed on behalf of the defendant should be filed by
defense counsel.

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Case 3:04-cr-30139-SMY            Document 525 Filed 04/20/06              Page 2 of 3       Page ID
                                            #996



       In light of the voluminous discovery that exists in this case, including hundreds of hours

of recorded conversations, the Court FINDS it would be unreasonable to require counsel to

immediately proceed to trial, and that it is therefore necessary to schedule new trial and final pre-

trial dates which will permit new defense counsel to adequately prepare for trial.

       The Court FURTHER FINDS that failure to grant a continuance in this matter would

deny counsel for defendant reasonable time necessary to prepare for trial, and that the ends of

justice outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.

§ 3161(h)(8)(B)(iv). The Court FURTHER FINDS that it is appropriate to continue this matter

as to all defendants, and that the ends of justice would best be served by the joint trial of all

remaining co-defendants. Accordingly, pursuant to § 3161(h)(7) the time between the filing of

the motion to withdraw and the new trial date shall be excluded for purposes of determining

Speedy Trial time as to all defendants.

       Also before the Court are the two pro se motions filed by defendant Compton. In his first

motion, entitled Motion to Move for Dismissal (Doc. 517) the defendant seeks dismissal of the

indictment on the grounds that: a) his attorneys failed to file motions to dismiss based on speedy

trial violations; and b) that his attorneys failed to file suppression motions based on Miranda v.

Arizona, 384 U.S. 436 (1966).

       The Court has previously held that the speedy trial time has not run in this action as to

any defendant (See. Order at Doc. 489). Therefore, to the extent that the defendant’s pro se

motion seeks dismissal for violation of the Speedy Trial Act, the motion is DENIED.

       With respect to his contention that his attorney should have filed a motion to suppress,

the Court FINDS that this does not establish a grounds for dismissal. Therefore, defendant’s


                                                   2
Case 3:04-cr-30139-SMY         Document 525 Filed 04/20/06          Page 3 of 3     Page ID
                                         #997



motion to move for dismissal is DENIED on all grounds.

       Defendant’s motion to compel response to motion to dismiss appointed attorney in which

he seeks to have attorney Gary Mack dismissed is DENIED as moot. (Doc. 518).

       IT IS SO ORDERED.

       DATED: April 20, 2006.



                                                  s/ WILLIAM D. STIEHL
                                                      DISTRICT JUDGE




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